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    as Guardian ad Litem for I.R., a minor
  8
                          UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11
    KRYSTAL REYES, as Guardian ad                   Case No. 2:19-cv-5209-GW-KS
 12 Litem for I.R., a minor
                                                    JOINT RULE 16(b)/26(f) REPORT
 13                Plaintiff,
 14         v.                                      Scheduling Conference: Sept. 9, 2019
                                                    Time:                   8:30 a.m.
 15 COUNTY OF LOS ANGELES, LOS                      Location:              9D
    ANGELES COUNTY PROBATION
 16 DEPARTMENT, LOS ANGELES
    COUNTY CHIEF PROBATION
 17 OFFICER TERI L. McDONALD,
    DEPUTY PROBATION OFFICER
 18 PUENTE, DEPUTY PROBATION
    OFFICER STANCE, and DOES 1 TO
 19 10,
 20                Defendants.
 21
 22                             JOINT RULE 16(b)/26(f) REPORT
 23         Pursuant to Federal Rules of Civil Procedure 16(b), 26(f), CACD LR-26-2 and
 24 the July 31, 2019, order of the court, Plaintiff Krystal Reyes, as Guardian ad Litem for
 25 I.R., a minor, and Defendants County of Los Angeles, Los Angeles County Probation
 26 Department, Los Angeles County Chief Probation Officer Teri L. McDonald, Deputy
 27 Probation Officer Puente, and Deputy Probation Officer Stance submit this report for
 28 the Rule 16(b)/26(f) Scheduling Conference.

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  1 A.      STATEMENT OF THE CASE
  2         Around July of 2017, Plaintiff I.R. was fifteen years old and in the custody of the
  3 County of Los Angeles, at the Eastlake Central Juvenile Hall, when she was pepper-
  4 sprayed in the face and eyes by deputy probation officers Puente, Stance and Does,
  5 which Plaintiff alleges was in violation of her constitutional rights. Plaintiff alleges that
  6 she suffered severe emotional and physical pain as a result of the pepper spray
  7 incidents. Plaintiff also alleges that the deputies used force because of the County of
  8 Los Angeles’ policies, customs, and practices of permitting probation officers to use
  9 OC spray without justification. Defendants contend that any use of force was justified
 10 under the circumstances because Plaintiff posed a severe threat of harm to herself and
 11 probation officers.
 12
 13 B.      SUBJECT MATTER JURISDICTION
 14         Plaintiff brings this case pursuant to 42 U.S.C. §§ 1983, 1988. Jurisdiction is
 15 based upon 28 U.S.C. §§ 1331, 1343 (1-4).
 16
 17 C.      LEGAL ISSUES
 18         Plaintiff has brought claims under 42 U.S.C. § 1983 for First, Fourth, Eighth and
 19 Fourteenth Amendment violations against the individual and entity defendants,
 20 conspiracy to violate civil rights, as well as a supervisory liability claim. The legal issues
 21 in this case are (a) whether the alleged use of force by Officers Puente, Stance, and
 22 Does 1 and 2 was reasonable under the circumstances; (b) whether the County of Los
 23 Angeles has adequate policies regarding the deployment of OC spray; and (c) the
 24 cognizability of Plaintiff’s claims (ie, which constitutional amendment applies).
 25
 26 D.      PARTIES AND NON-PARTY WITNESSES
 27         Plaintiff anticipates the following witnesses at this point in the case: I.R., Deputy
 28 Probation Officer Puente, Deputy Probation Officer Stance, Los Angeles County Chief

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  1 Probation Officer Teri L. McDonald, Does, as well as an expert witness on juvenile
  2 detention practices.
  3         Defendant anticipate calling Krystal Reyes, as Guardian ad Litem for I.R., a
  4 minor, County of Los Angeles, Los Angeles County Probation Department, Los
  5 Angeles County Chief Probation Officer Teri L. McDonald, Deputy Probation Officer
  6 Puente, and Deputy Probation Officer Stance.
  7         Additional defendants may be named as their identities are disclosed. Minor I.R.
  8 will reach the age of majority in November, 2019.
  9
 10 E.      DAMAGES
 11         Defendants’ violation of Plaintiff’s rights caused I.R. to suffer great emotional,
 12 mental and physical pain, anguish, fright, nervousness, anxiety, shock, humiliation,
 13 indignity, embarrassment, and apprehension. Though certainly compensable, the range
 14 is not readily quantified. Accordingly, particular compensatory (and potentially
 15 punitive) damages would be best determined by a jury at the time of trial.
 16
 17 F.      INSURANCE
 18         Plaintiff has no applicable insurance.
 19         The County of Los Angeles is self-insured.
 20
 21 G.      MOTIONS
 22         Plaintiff anticipates filing motions in limine, and partial summary
 23 judgment/adjudication.
 24         Defendants anticipate filing a motion for judgment on the pleadings on (1) the
 25 cognizability of Plaintiff’s First Amendment claim; (2) the cognizability of Plaintiff’s
 26 Fourth, Eighth, and Fourteenth Amendment claims; and (3) the insufficiently vague
 27 allegations of Plaintiff’s Monell claim, supervisorial liability claim, and conspiracy claim.
 28

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  1 H.      MANUAL FOR COMPLEX LITIGATION
  2         This case does not require procedures from the Manual for Complex Litigation.
  3
  4 I.      STATUS OF DISCOVERY
  5         The parties have not yet propounded discovery, but intend to do so to following
  6 the scheduling conference. Plaintiff is willing to stipulate to a request for a protective
  7 order for certain materials that will be requested from defendants, such as personnel
  8 records.
  9
 10 J.      DISCOVERY PLAN
 11         Plaintiff anticipates propounding discovery in August 2019, and conducting
 12 depositions in the fall and winter of 2019. Anticipated party deponents include Deputy
 13 Probation Officers Puente and Stance, as well as Chief Probation Officer McDonald.
 14 Non-party deponents will be identified after Plaintiff has an opportunity to review
 15 Defendants’ discovery responses. Plaintiff anticipates propounding additional
 16 interrogatories upon review of the initial discovery disclosures. The parties also
 17 anticipate expert discovery will be necessary for issues related to assessing liability and
 18 damages.
 19         Defendants will be propounding discovery requests to plaintiff and anticipate
 20 taking depositions on dates to be arranged. Anticipated depositions will include the
 21 Plaintiff. Defendants anticipate that discovery will be conducted on Plaintiff’s alleged
 22 (1) physical and emotional injuries and medical and economic damages; (2) the
 23 reasonableness of the force; (3) COLA’s policies about the deployment of OC spray in
 24 juvenile detention facilities. Defendants believe there may be issues about the
 25 disclosure of the officers’ personnel files, but the parties will try to resolve these issues
 26 without the need for court intervention.
 27         At this point, the parties do not identify any issues about disclosures.
 28         The parties agree to the mutual exchange of Rule 26 Disclosures on August 19,

                                                  4
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  1 2019.
  2         The parties do not anticipate a need for any change to the nature or limit of
  3 allowable discovery. However, the parties will seek agreement of each other and/or the
  4 court if necessary, if the need arises. The parties will seek additional protective orders
  5 when necessary to protect confidential information.
  6
  7 K.      DISCOVERY CUT-OFF
  8         The parties jointly request that the general discovery cut-off, including
  9 depositions, be set for February 10, 2020.
 10
 11 L.      EXPERT DISCOVERY
 12         Please see timetable in Section R below.
 13
 14 M.      DISPOSITIVE MOTIONS
 15         The parties propose that the dispositive motion hearing cut-off is May 25, 2020.
 16
 17 N.      SETTLEMENT
 18         The parties are willing to request a private mediator. That determination will be
 19 made after the parties have an opportunity to review discovery.
 20
 21 O.      TRIAL ESTIMATE
 22         The parties propose an August 10, 2020 jury trial date. The parties anticipate
 23 that the trial will take 4–5 court days and anticipate calling up to ten witnesses.
 24
 25 P.      TRIAL COUNSEL
 26         Erin Darling and Justin Sterling for Plaintiff.
 27         Defendants’ trial counsel: Rickey Ivie and Jack Altura.
 28

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  1 Q.      INDEPENDENT MASTER
  2         This is not a case where the Court should consider appointing a master or
  3 independent scientific expert.
  4
  5 R.      TIMETABLE
  6         The parties are submitting a schedule of dates listed below and based on a single
  7 trial date.
  8         Name: Reyes v. County of Los Angeles, et al.     Case No. 2:19-CV-5209-GW
  9        Matter                Plaintiff’s Date/Defendant’s Date      Court’s Order
    Jury Trial Duration                August 10, 2020
 10
    Estimate: 4-5 days
 11
    Final Pretrial                       July 13, 2020
 12
    Conference [LR 16]
 13 (Monday at 1:30 p.m.)
 14
    Last Date to Hear                    May 25, 2019
 15 Motion to Amend
    Pleading/ Add Parties
 16
 17 Expert Disclosure                    February 24, 2020
    (Initial)
 18
 19 Expert Disclosure                    March 9, 2020
    (Rebuttal)
 20
 21 Expert Discovery                     March 23, 2020
    Cut-Off
 22
 23 Last Date to Hear                    May 25, 2020
    Motions (Monday at
 24 10:00 a.m.)
 25
    Last Date to Conduct                 March 16, 2020
 26 Settlement Conf.
 27
 28

                                                   6
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  1 S.      OTHER ISSUES
  2         None anticipated at this time. However, if issues arise, the parties will bring them
  3 before the court via appropriate filing(s).
  4
  5 T.      PATENT CASES
  6         This is not a patent case.
  7
  8 U.      CONSENT TO MAGISTRATE
  9         The parties do not consent to a magistrate at this time.
 10
 11
 12 Respectfully submitted
 13
                                               LAW OFFICES OF ERIN DARLING
 14 DATED: August 23, 2019
 15
                                               By:     /s/ Erin Darling
 16                                                    Erin Darling
 17                                                  Attorney for Plaintiff,
                                                     KRYSTAL REYES, as Guardian ad Litem
 18                                                  for R.H., a minor
 19
 20 Dated: August 23, 2019                       IVIE, McNEILL & WYATT
 21
 22
 23                                      By:     /s/ JACK F. ALTURA
                                                 RICKEY IVIE
 24                                              JACK F. ALTURA
 25                                              Attorneys for Defendants,
                                                 County of Los Angeles et al.
 26
 27
 28

                                                     7
